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                                    UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                  Plaintiff
v.                                                             Case Number 8:06cr411-001

                                                               USM Number 21277047

MARK ANTHONY HUDSON
                Defendant
                                                               SHANNON P. O’CONNOR

                                           Defendant’s Attorney
___________________________________
                       AMENDED JUDGMENT IN A CRIMINAL CASE

Date of Original Judgment: 06/13/2007
(Or Date of Last Amended Judgment)

Reason for Amendment:

        Reduction of Sentence for Changed Circumstances (Fed. R. Crim. P. 35(b))

THE DEFENDANT pleaded guilty to counts I and III of the Indictment on March 19, 2007.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

                                                                   Date Offense                Count
           Title, Section & Nature of Offense                       Concluded                 Numbers


 21:846 CONSPIRACY TO POSSESS WITH INTENT                       October 23, 2006                   I
 TO DISTRIBUTE CRACK COCAINE

 21:853 FORFEITURE                                              October 23, 2006                  III

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

Count II of the Indictment is dismissed on the motion of the United States as to this defendant only.

Final order of forfeiture filed on 06/26/07 as to Count III.

Following the imposition of sentence, the Court advised the defendant of the right to appeal pursuant to the
provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and that such Notice of Appeal
must be filed with the Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of
any change of name, residence, or mailing address until all fines, restitution, costs and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and
United States attorney of any material change in the defendant’s economic circumstances.

                                                                              Date of Imposition of Sentence:
                                                                                           January 29, 2009

                                                                                   s/ Laurie Smith Camp
                                                                                   United States District Judge

                                                                                        January 29, 2009
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                                       IMPRISONMENT

The Defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of eighty (80) months.

The Court makes the following recommendations to the Bureau of Prisons:

1.     That the Defendant participate in the 500-hour Comprehensive Drug Treatment Program
       or any similar drug treatment program available.

2.     That the Defendant be incarcerated in a federal facility as close to Minnesota as possible.

3.     Defendant shall be given credit for time served.

The Defendant is remanded to the custody of the United States Marshal.

                             ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                            _____________________________
                                                                    Signature of Defendant

                                            RETURN

It is hereby acknowledged that the Defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the Defendant has not signed the
Acknowledgment of Receipt, above.

                                        CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the Defendant this ____ day of
_______________, ______

                                                      __________________________________
                                                             UNITED STATES WARDEN



                                                   By:__________________________________
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                                   SUPERVISED RELEASE

Upon release from imprisonment, the Defendant shall be on supervised release for a term of 5
years.

The Defendant shall report to the probation office in the district to which the Defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The Defendant shall not commit another federal, state or local crime.

The Defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

The Defendant shall not unlawfully possess a controlled substance. The Defendant shall refrain
from any unlawful use of a controlled substance. The Defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the Court.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
Defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The Defendant must comply with standard conditions that have been adopted by this Court as well
as with any additional conditions on the attached page.

                       STANDARD CONDITIONS OF SUPERVISION

1.     The Defendant shall not leave the judicial district without the permission of the Court or
       probation officer;
2.     The Defendant shall report to the probation officer and shall submit a truthful and complete
       written report within the first five days of each month;
3.     The Defendant shall answer truthfully all inquiries by the probation officer and follow the
       instructions of the probation officer;
4.     The Defendant shall support his or her dependents and meet other family responsibilities;
5.     The Defendant shall work regularly at a lawful occupation, unless excused by the probation
       officer for schooling, training, or other acceptable reasons;
6.     The Defendant shall notify the probation officer at least ten days prior to any change in
       residence or employment;
7.     The Defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
       use, distribute, or administer any controlled substance or any paraphernalia related to any
       controlled substances, except as prescribed by a physician;
8.     The Defendant shall not frequent places where controlled substances are illegally sold,
       used, distributed, or administered;
9.     The Defendant shall not associate with any persons engaged in criminal activity and shall
       not associate with any person convicted of a felony, unless granted permission to do so by
       the probation officer;
10.    The Defendant shall permit a probation officer to visit him or her at any time at home or
       elsewhere and shall permit confiscation of any contraband observed in plain view of the
       probation officer;
11.    The Defendant shall notify the probation officer within seventy-two hours of being arrested
       or questioned by a law enforcement officer;
12.    The Defendant shall not enter into any agreement to act as an informer or a special agent
       of a law enforcement agency without the permission of the Court;
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13.    As directed by the probation officer, the Defendant shall notify third parties of risks that may
       be occasioned by the Defendant’s criminal record or personal history or characteristics and
       shall permit the probation officer to make such notifications and to confirm the Defendant’s
       compliance with such notification requirement.

                             SPECIAL CONDITIONS OF SUPERVISION

1.     The Defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant
       to the Public Law 108-405 (Revised DNA Collection Requirements Under the Justice for All Act of
       2004), if such sample was not collected during imprisonment.

2.     Paragraph # 7 of the Standard Conditions of supervision is modified, i.e., instead of merely refraining
       from excessive use of alcohol, the Defendant shall not purchase or possess, use, distribute, or
       administer any alcohol, just the same as any other narcotic or controlled substance.

3.     The Defendant shall be subject to the search of the Defendant’s premises, vehicle or person, day or
       night, with or without a warrant, at the request of the probation officer to determine the presence of
       alcohol and/or controlled substances, firearms or any other contraband. Any such items found may
       be seized by the probation officer. This condition may be invoked with or without the cooperation of
       law enforcement officers.

4.     The Defendant shall attend, pay for and successfully complete any diagnostic evaluations, treatment
       or counseling programs, or approved support groups (e.g., AA/NA) for alcohol and/or controlled
       substance abuse, as directed by the probation officer.

5.     The Defendant shall participate in a victim awareness program as directed by the probation officer.
       Based on the Defendant’s ability to pay, the Defendant shall pay for the costs of the program in an
       amount determined by the probation officer.

6.      The Defendant shall provide the probation officer with access to any requested financial information.

7.     Pursuant to 18 U.S.C. § 3583 (d), the Defendant shall submit to a drug test within fifteen (15) days
       of release on supervised release and at least two (2) periodic drug tests thereafter to determine
       whether the Defendant is using a controlled substance. Further, the Defendant shall submit to such
       testing as requested by any probation officer to detect the presence of alcohol or controlled
       substances in the Defendant’s body fluids and to determine whether the Defendant has used any of
       those substances. Based on the Defendant’s ability to pay, the Defendant shall pay for the collection
       of urine samples to be tested for the presence of alcohol and/or controlled substances in an amount
       to be determined by the probation officer.

8.     The Defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of
       Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza, Suite C79, Omaha,
       Nebraska, (402) 661-7555, within seventy-two (72) hours of release from confinement, and,
       thereafter, as directed by the probation officer.



Following the imposition of sentence, the Court advised the Defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this date.
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                            CRIMINAL MONETARY PENALTIES

       The Defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

      Total Assessment                      Total Fine                 Total Restitution
        $100.00 - PAID
The Court has determined that the Defendant does not have the ability to pay interest and it is
ordered that: interest requirement is waived.

                                              FINE

       No fine imposed.

                                        RESTITUTION

       No restitution was ordered.
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                                      SCHEDULE OF PAYMENTS
The Defendant shall pay the special assessment in the amount of $100.00 paid.

The criminal monetary penalty is due in full on the date of the judgment. The Defendant is obligated
to pay said sum immediately if he or she has the capacity to do so. The United States of America
may institute civil collection proceedings at any time to satisfy all or any portion of the criminal
monetary penalty.

Without limiting the foregoing, and during the Defendant’s term of incarceration, the Defendant shall
participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such Program,
the Defendant shall pay 50% of the available inmate institutional funds per quarter towards the
criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the Defendant shall make payments
to satisfy the criminal monetary penalty in the following manner: (a) monthly installments of $100 or
3% of the Defendant’s gross income, whichever is greater; (b) the first payment shall commence 30
days following the Defendant’s discharge from incarceration, and continue until the criminal monetary
penalty is paid in full; and (c) the Defendant shall be responsible for providing proof of payment to the
probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following
order of priority: special assessment; restitution; fine; and other penalties. Unless otherwise
specifically ordered, all criminal monetary penalty payments, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk
of the Court. Unless otherwise specifically ordered, interest shall not accrue on the criminal monetary
penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The Defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The Defendant shall inform the probation officer of any change in his or her economic circumstances
affecting the ability to make monthly installments, or increase the monthly payment amount, as
ordered by the Court.

The Defendant is restrained from transferring any real or personal property, unless it is necessary to
liquidate and apply the proceeds of such property as full or partial payment of the criminal monetary
penalty.
        The Defendant shall forfeit the Defendant’s interest in the following property to the United
States:
                               $611.00 in U.S. Currency
CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
